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 6                           IN THE UNITED STATES DISTRICT COURT
 7                              FOR THE DISTRICT OF ARIZONA
 8
 9   KARL PEIPELMAN,                         )    No. CV 09-206-TUC-RCC
                                             )
10              Plaintiff,                   )    ORDER
                                             )
11   vs.                                     )
                                             )
12                                           )
     NCO FINANCIAL SYSTEMS, INC.,            )
13                                           )
                Defendant.                   )
14                                           )
                                             )
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17         Pursuant to the Stipulation of the Parties (Docket No. 11) and good cause appearing,
18         IT IS HEREBY ORDERED this case is DISMISSED with prejudice, the parties to
19   bear their own costs and attorneys’ fees. The Clerk SHALL close this case.
20         DATED this 30th day of July, 2009.
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